                           Case 8:23-bk-01727-CPM                         Doc 77          Filed 07/11/24             Page 1 of 3
                                                              United States Bankruptcy Court
                                                                Middle District of Florida
In re:                                                                                                               Case No. 23-01727-CPM
Xavier Charles Washington, II                                                                                        Chapter 13
       Debtor
                                                    CERTIFICATE OF NOTICE
District/off: 113A-8                                                 User: admin                                                            Page 1 of 2
Date Rcvd: Jul 09, 2024                                              Form ID: trc                                                          Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jul 11, 2024:
Recip ID                  Recipient Name and Address
30451268                  Barclays Mortgage Trust 2021-NPL1, Mortgage-Backed, Association, as Indenture Trustee, 305 S. Blvd., Tampa, FL 33606

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                      BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                     NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jul 11, 2024                                           Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on June 25, 2024 at the address(es) listed below:
Name                              Email Address
Allison D Thompson
                                  on behalf of Creditor BARCLAYS MORTGAGE TRUST 2021-NPL1 MORTGAGE-BACKED SECURITIES, SERIES
                                  2021-NPL1, BY U.S. BANK NATIONAL ASSOCIATION, AS INDENTURE TRUSTEES adt@mechaniknuccio.com

Gavin Stewart
                                  on behalf of Creditor Bridgecrest Acceptance Corporation bk@stewartlegalgroup.com

Jon Waage
                                  jwflecf@trustee13.com

Kelley M Petry
                                  on behalf of Debtor Xavier Charles Washington II kpetry@robertgellerlaw.com,
                                  geller.robertm.b125896@notify.bestcase.com;robertmgellerbk@robertgellerlaw.com;gellernotices@gmail.com;petry.kelleyr6412
                                  9@notify.bestcase.com

Michael D Lessne
                                  on behalf of Creditor ASB Sunset Electric LLC michael@lessne.law

Seth J Greenhill
                                  on behalf of Creditor U.S. Bank National Association as Indenture Trustee on behalf of and with respect to Barclays Mortgage
                                  Trust 2021-NPL1, Mortgage-Backed Securities, Series 2021-NPL1 Seth.Greenhill@padgettlawgroup.com,
                                  bkecf@padgettlawgroup.com;sgreenhill_905@ecf.courtdrive.com;Makesha.Caldwell@padgettlawgroup.com;angelica.reyes@pad
                                  gettlawgroup.com;NSbkecf@padgettlawgroup.com;PLG@ecf.courtdrive.com
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District/off: 113A-8                                                 User: admin                                                           Page 2 of 2
Date Rcvd: Jul 09, 2024                                              Form ID: trc                                                         Total Noticed: 1
Tiffany Love McElheran
                                     on behalf of Attorney Avenida De Flores Townhomes Association Inc. tiffany.love@arlaw.com, cindy.kelly@arlaw.com

United States Trustee - TPA7/13, 7
                                     USTPRegion21.TP.ECF@USDOJ.GOV


TOTAL: 8
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2100 B (12/15)


                                      United States Bankruptcy Court
                                                    Middle District of Florida
                                                  Case No. 8:23-bk-01727-CPM
                                                          Chapter 13

In re: Debtor(s) (including Name and Address)

Xavier Charles Washington, II
807 W. Azeele St.
Tampa FL 33606



                      NOTICE OF TRANSFER OF CLAIM OTHER THAN FOR SECURITY

The Claim No(s). listed below was/were filed or deemed filed under 11 U.S.C. § 1111(a) in this case
by the alleged transferor. As evidence of the transfer of that claim, the transferee filed a Transfer of
Claim Other than for Security in the clerk’s office of this court on 06/25/2024.



Name and Address of Alleged Transferor(s):                                          Name and Address of Transferee:
Claim No. 14: Barclays Mortgage Trust 2021-NPL1, Mortgage-Backed, Association, as   U.S. Bank National Association
Indenture Trustee, 305 S. Blvd., Tampa, FL 33606                                    c/o Shellpoint Mortgage Servicing
                                                                                    P.O. Box 10826
                                                                                    Greenville, SC 29603-0675




                                      -- DEADLINE TO OBJECT TO TRANSFER --
The alleged transferor(s) of the claim is hereby notified that objections must be filed with the court
within twenty-one (21) days of the mailing of this notice. If no objection is timely received by the
cour t, the transferee will be substituted as the original claimant without further order of the court.


Date:    07/11/24                                              Sher yl L. Loesch
                                                               CLERK OF THE COURT
